                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION


UNITED STATES OF AMERICA,

                            Plaintiff,
                                                         Criminal Action No. 07-00063-01/02-CR-W-ODS
v.

MARLIN SANDERS and
JERMAINE D. JONES,

                             Defendant.

                           MEMORANDUM OF MATTERS DISCUSSED AND
                            ACTION TAKEN AT PRETRIAL CONFERENCE

PENDING CHARGES: On February 7, 2007, the Grand Jury returned a seven count indictment
against defendants Marlin E. Sanders, Jermaine D. Jones, and Lee V. Harris1. Count One of the
indictment charges that between January 1, 2006, to and including the date of the indictment,
defendants Sanders, Jones and Harris conspired to distribute fifty grams or more of cocaine base.
Count Two charges that on or about November 20, 2006, defendant Jones knowingly and intentionally
distributed cocaine base. Count Three charges that on or about November 20, 2006, defendants Jones
and Harris possessed with intent to distribute cocaine base. Count Four charges that on or about
November 20, 2006, defendants Jones and Harris possessed a firearm, to wit: a .357 caliber revolver
while being unlawful users of or addicted to a controlled substance. Count Five charges that on or
about December 5, 2006, defendant Jones distributed cocaine base. Count Six charges that on or
about December 6, 2006, defendants Sanders, Jones and Harris possessed with intent to distribute fifty
grams or more of cocaine base. Count Seven charges that on December 6, 2006, defendant Sanders
being an unlawful user of or addicted to a controlled substance possessed a firearm.
        The following matters were discussed and action taken during the pretrial conference:

TRIAL COUNSEL:
      Government: Kathleen Mahoney
      Case Agent: Troy Schwam of the Kansas City Police Department
      Defense:    Willis Toney for defendant Sanders
                  F.A. White, Jr. for Jones

OUTSTANDING MOTIONS: The undersigned has prepared a Report and Recommendation with
respect to Motion to Suppress Evidence (doc #86) and Motion to Suppress Statements (doc #87) The
District Court’s ruling on this motion is pending.




       1
           Defendant Harris has entered a guilty plea.



       Case 4:07-cr-00063-BCW                   Document 107        Filed 12/21/07   Page 1 of 2
TRIAL WITNESSES:
      Government: 18 witnesses with stipulations; 23 witnesses without stipulations
      Defendants: 3 witnesses, the defendant Sanders may testify
                   3 witnesses, the defendant Jones may testify

TRIAL EXHIBITS
     Government: 50 exhibits
     Defendants: No exhibits beyond the government’s exhibits

DEFENSES: General Denial

POSSIBLE DISPOSITION:
     (X) Definitely for trial;     ( ) Possibly for trial;   ( ) Likely a plea will be worked out

TRIAL TIME: 4 days
      Government’s case including jury selection: 3 days
      Defense case: 1 day for both defendants

STIPULATIONS: The government has proposed 4 stipulations and defense counsel are reviewing
them.

UNUSUAL QUESTIONS OF LAW: None

FILING DEADLINES:

       Witness and Exhibit List
       Government: Friday before the pretrial conference
       Defense: Friday before the pretrial conference
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: Noon, Wednesday January 2, 2008
       Please Note: Jury instructions must comply with Local Rule 51.1

TRIAL SETTING: Criminal jury trial docket commencing January 7, 2008.
     Please Note: Mr. Toney is requesting that the case be set the first week of the docket as he
     has another matter the second week of the docket. Ms. Mahoney is helping Mr. Valenti with
     the trial of United States v. Cartwright also set on this docket. Thus, the Cartwright case must
     be set a different week from this case.

IT IS SO ORDERED.


                                               _________/s/_____________________
                                                      SARAH W. HAYS
                                                    United States Magistrate Judge



                                                  2


      Case 4:07-cr-00063-BCW            Document 107          Filed 12/21/07     Page 2 of 2
